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                       INTHE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA                                 28
                                                                                    U
                                      Alexandria Division


UNITED STATES OF AMERICA                               (Under Seal)

                                                       Criminal No. 1:1 l-CR-334
       v.



AYMAN JOUMAA,

              Defendant.                     )


                                    MOTION TO DISMISS


       The United States of America hereby moves this Honorable Court to dismiss the
Indictment against this defendant in this matter. The United States further requests that case
number 1:11 -MJ-467 be merged with 1:11 -CR-560.

                                                 Respectfully submitted,

                                                 Neil H. MacBride
                                                 United States Attorney



                                       By:            i^L•JL
                                                 Michael P/Ben'Ary       S^
                                                 Assistant United States Attorney
